     Case 1:07-cr-00014-WTH-GRJ            Document 165       Filed 10/26/07      Page 1 of 1


                                                                                           Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:07-cr-00014-MP-AK

CHRISTOPHER B. MATSKO,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 161, Motion to Continue Sentencing, filed by

Defendant Christopher Matsko. In the motion, Defendant states that he is currently cooperating

with the Government pursuant to his plea agreement. In order to allow the Government to better

evaluate his cooperation, Defendant requests that his sentencing hearing, currently set for

October 31, 2007, be continued. The Government does not object to the requested continuance.

Therefore, Defendant’s motion is granted, and the sentencing hearing is hereby reset for

Tuesday, January 15, 2008, at 4:00 p.m.



       DONE AND ORDERED this              26th day of October, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
